Case 1:15-cr-00142-EAW-MJR Document 1351

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

 

 

UNITED STATES OF AMERICA,
v. 15-CR-142-W
GLEN STACHARCZYCK a/k/a Turbo,

Defendant.

 

PLEA AGREEMENT

The defendant, GLEN STACHARCZYCK a/k/a Turbo, and the United States
Attorney for the Western District of New York (hereinafter "the government") hereby enter

into a plea agreement with the terms and conditions as set out below.

I. THE PLEA AND POSSIBLE SENTENCE
1. The defendant agrees to plead guilty to Count 1 of the Second Superseding
Indictment, which charges a violation of Title 18, United States Code, Section 1962(d) (RICO
conspiracy), for which the maximum possible sentence is a term of imprisonment of 20 years,
a fine of $250,000, a mandatory $100 special assessment, and a term of supervised release of
at least three years. The defendant understands that the penalties set forth in this paragraph

are the maximum penalties that can be imposed by the Court at sentencing.

2. The defendant understands that, if it 1s determined that the defendant has
violated any of the terms or conditions of supervised release, the defendant may be required

to serve in prison all or part of the term of supervised release, up to two (2) years, without
Case 1:15-cr-00142-EAW-MJR Document 1351 Filed 07/13/18 Page 2 of 10

credit for time previously served on supervised release. As a consequence, in the event the
defendant is sentenced to the maximum term of incarceration, a prison term imposed for a
violation of supervised release may result in the defendant serving a sentence of imprisonment

longer than the statutory maximum set forth in 4 1 of this agreement.

I. ELEMENTS AND FACTUAL BASIS
3. The defendant understands the nature of the offenses set forth in | 1 of this
agreement and understands that if this case proceeded to trial, the government would be
required to prove beyond a reasonable doubt the following elements of the crime:
a. That there was an enterprise, as described in the Second Superseding
Indictment, consisting of a group of persons associated together for a

common purpose of engaging in a course of conduct;

b. That the enterprise engaged in, or its activities in some way affected,
interstate or foreign commerce;

C. That the defendant was employed by or associated with the enterprise;
and
d. That the defendant knowingly and intentionally entered into an

agreement that a conspirator would conduct, or participate in the
conduct of, the affairs of the enterprise though a pattern of racketeering
activity.

FACTUAL BASIS
4. The defendant and the government agree to the following facts, which form the
basis for the entry of the plea of guilty including relevant conduct:

a. The Kingsmen Motorcycle Club (““KMC”) was founded in Lockport,
New York in 1959 and continues to operate today. As set forth in the
Second Superseding Indictment, the KMC was a criminal organization
whose leadership, members, and associates constituted an enterprise, as
defined by Title 18, United States Code, Section 1961(4), thatis, a group
Case 1:15-cr-00142-EAW-MJR Document 1351 Filed 07/13/18 Page 3 of 10

of individuals associated in fact, the activities of which affected
interstate and foreign commerce.

b. The purposes of the KMC included the following: promoting and
enhancing the enterprise and its members and associates’ activities,
including, but not limited to, distribution of controlled substances,
maintaining premises for use and distribution of controlled substances,
possession, use, and sale of firearms, sale of untaxed cigarettes ,and
other criminal activities including promoting prostitution; preserving
and protecting the power, territory, and reputation of the enterprise and
its’ members through intimidation, violence, threats of violence,
assaults, murder, and attempted murder; placing victims, potential
victims, potential witnesses, and others in fear of the enterprise, its
members, and associates, through violence and threats of violence; and
generating and maximizing the profits, reputation, and membership of
the enterprise from a variety of illegal activity, including, but not limited
to, drug trafficking, firearm sales, sale of untaxed cigarettes, sale of
alcohol, gambling, robbery, and prostitution.

Cc. The KMC operates in New York, Pennsylvania, Tennessee, and
Florida. Each KMC member and chapter paid dues to the KMC
National, which was located in the State of Florida. KMC Chapters
routinely sold alcohol, and untaxed cigarettes for profits, which they
attempted to mask by calling them “donations.” The KMC also
permitted gambling inside KMC Chapter clubhouses, and promoted.
unlawful “stripper parties” and sexual activities inside KMC Chapter
clubhouses.

d. The defendant, GLEN STACHARCZYCK a/k/a Turbo, was a
member of the North Tonawanda KMC Chapter between 2009 and
2016. The defendant admits that, at various times during the RICO
Conspiracy alleged in Count 1 of the Second Superseding Indictment,
KMC members and associates of the KMC used marijuana, cocaine,
methamphetamine, and other controlled substances in and around the
North Tonawanda KMC Chapter Clubhouse. The defendant further
acknowledges that he knew that KMC members were involved in the
use and distribution of cocaine, marijuana, and other controlled
substances. The defendant further admits that he possessed firearms,
and that KMC members maintained access to firearms, and KMC
members possessed and maintained firearms on their person and inside
KMC Chapter Clubhouses, including the North Tonawanda KMC
Chapter Clubhouse. KMC members were also involved in firearm sales
at various times. The defendant admits that the activities at the North
Tonawanda KMC Chapter Clubhouse, including the sale and
distribution of alcohol, cocaine, and other controlled substances,
firearms sales and possession, payment of dues, and the interstate
activities and coordination by the KMC affect interstate commerce. The
Case 1:15-cr-00142-EAW-MJR Document 1351 Filed 07/13/18 Page 4 of 10

parties agree that after converting the amount of cocaine, maryuana and
the controlled substances involved in the offense, at least 60 kilograms
but less than 80 kilograms of marijuana is the amount involved in the
defendant’s relevant conduct encompassed in Count I of the Second
Superseding Indictment which could be readily proven by the
government against the defendant.

e. The defendant further admits that, at various times during the RICO
Conspiracy alleged in Count 1 of the Second: Superseding Indictment,
KMC members and associates of the KMC used marijuana, cocaine,
methamphetamine, and other controlled substances in and around the
South Buffalo KMC Chapter Clubhouse. The defendant further
acknowledges that he knew that KMC members were involved in the
use and distribution of cocaine, marijuana, and other controlled
substances. The defendant further admits that he possessed firearms,
and that KMC members maintained access to firearms, and KMC
members possessed and maintained firearms on their person and inside
KMC Chapter Clubhouses, including the South Buffalo KMC Chapter
Clubhouse. KMC members were also involved in firearm sales at
various times. The defendant admits that the activities at the South
Buffalo KMC Chapter Clubhouse, including the sale and distribution of
alcohol, cocaine, and other controlled substances, firearms sales and
possession, payment of dues, and the interstate activities and
coordination by the KMC affect interstate commerce. The parties agree
that after converting the amount of cocaine, marijuana and the
controlled substances involved in the offense, at least 60 kilograms but
less than 80 kilograms of marijuana is the amount involved in the
defendant’s relevant conduct encompassed in Count 1 of the Second
Superseding Indictment which could be readily proven by the
government against the defendant.

f. The defendant admits that the KMC follows a strict chain of command.
David Pirk was the National KMC President for the majority of the time
the defendant was in the KMC. The KMC chain of command involved
the National President passing down orders to the Regional Presidents;
Regional Presidents passed down orders to the Chapter Presidents; and.
Chapter Presidents passed down orders to the Chapter Officers and
members. KMC Nomads served as the discretion of the National
President.

g. The above facts are set forth for the limited purpose of complying with
Rule 11(b)(3) and are not intended to serve as a complete statement of
the defendant’s criminal conduct.
Case 1:15-cr-00142-EAW-MJR Document 1351 Filed 07/13/18 Page 5 of 10

I. SENTENCING GUIDELINES

 

5. The defendant understands that the Court must consider but is not bound by

the Sentencing Guidelines (Sentencing Reform Act of 1984).

 

BASE OFFENSE LEVELS
6. The government and the defendant agree that Guidelines §§ 2E1.1(a)(2), .
2D1.8(a)(1), 2D1.1(a)(5), 2D1.1(0b)(1), 2D1.1(b)(12), and 2D1.1(c)(10) apply to { ¥), above, in 5
and provide for a base offense level of 24. é fo
7. The government and the defendant agree that Guidelines §§ 2E1.1(a)(2),
2D1.8(a)(1), 2D1.1(a)(5), 2D1.1(6)(1), 2D1.1(b)(12), and 2D1.1(c)(10) apply to 4 We), above, ur
and provide for a base offense level of 24. . bd °

ADJUSTED OFFENSE LEVEL
8. Based on 108 through Cor this agreement and Guidelines § 3D 1.4, it is the dwt
understanding of the government and the defendant that the defendant’s combined adjusted OY &

‘
ath

offense level is 26.

ACCEPTANCE OF RESPONSIBILITY
9. At sentencing, the government agrees not to oppose the recommendation that
the Court apply the two (2) level downward adjustment of Guidelines § 3E1.1(a) (acceptance
of responsibility) and further agrees, if applicable, to move the Court to apply the additional
one (1) level downward adjustment of Guidelines § 3E1.1(b), which would result in a total

offense level of 23.
Case 1:15-cr-00142-EAW-MJR Document 1351: Filed 07/13/18 Page 6 of 10

CRIMINAL HISTORY CATEGORY
10. It is the understanding of the government and the defendant that the
defendant's criminal history category is I. The defendant understands that if the defendant is
sentenced for, or convicted of, any other charges prior to sentencing in this action the
defendant's criminal history category may increase. The defendant understands that the
defendant has no right to withdraw the plea of guilty based on the Court’s determination of

the defendant’s criminal history category.

GUIDELINES' APPLICATION, CALCULATIONS AND IMPACT
11. = Itis the understanding of the government and the defendant that, with a total
offense level of 23 and criminal history category of I, the defendant's sentencing range would.
be a term of imprisonment of 46 to 57 months, a fine of $20,000 to $200,000, and a period of
supervised release of 1 to 3 years. Notwithstanding this, the defendant understands that at
sentencing the defendant is subject to the minimum and maximum penalties set forth in { 1

of this agreement.

12. The government and the defendant agree to the correctness of the calculation
of the Sentencing Guidelines range set forth above. The government and the defendant,
however, reserve the right to recommend a sentence outside the Sentencing Guidelines range.
This paragraph reserves the right to the government and the defendant to bring to the attention
of the Court all information deemed relevant to a determination of the proper sentence in this

action.
Case 1:15-cr-00142-EAW-MJR Document 1351 Filed 07/13/18 Page 7 of 10

13. The defendant understands that the Court is not bound to accept any
Sentencing Guidelines calculations set forth in this agreement and the defendant will not be

entitled to withdraw the plea of guilty based on the sentence imposed by the Court.

IV. STATUTE OF LIMITATIONS

14. In the event the defendant’s plea of guilty is withdrawn, or conviction vacated,
either pre- or post-sentence, by way of appeal, motion, post-conviction proceeding, collateral
attack or otherwise, the defendant agrees that any charges dismissed pursuant to this
agreement shall be automatically reinstated upon motion of the government and further
agrees not to assert the statute of limitations as a defense to any other federal criminal offense
which is not time barred as of the date of this agreement. This waiver shall be effective for a
period of six months following the date upon which the withdrawal of the guilty plea or

vacating of the conviction becomes final.

V. GOVERNMENT RIGHTS AND RESERVATIONS
15. At sentencing, the government agrees to take no position as to the specific
sentence within the Guidelines range determined by the Court.
16. The defendant understands that the government has reserved the right to:

a. provide to the Probation Office and the Court all the information and
evidence in its possession that the government deems relevant
concerning the defendant's background, character and involvement in
the offense charged, the circumstances surrounding the charge and the
defendant's criminal history;

b. respond at sentencing to any statements made by the defendant or on
the defendant's behalf that are inconsistent with the information and.
evidence available to the government;
Case 1:15-cr-00142-EAW-MJR Document 1351 Filed 07/13/18 Page 8 of 10

c. advocate for a specific sentence consistent with the terms of this
agreement including the amount of a fine and the method of payment;
and

d. modify its position with respect to any sentencing recommendation or

sentencing factor under the Guidelines including criminal history
category, in the event that subsequent to this agreement the government
receives previously unknown information, including conduct and
statements by the defendant subsequent to this agreement, regarding the
recommendation or factor.

17. Atsentencing, the government agrees to dismiss the open counts of the Second

Superseding Indictment as against the defendant.

18. The defendant agrees that any financial records and information provided by
the defendant to the Probation Office, before or after sentencing, may be disclosed to the

United States Attorney’s Office for use in the collection of any unpaid financial obligation.

VI. APPEAL RIGHTS

19. The defendant understands that Title 18, United States Code, Section 3742
affords a defendant a limited right to appeal the sentence imposed. The defendant, however,
knowingly waives the right to appeal and collaterally attack any component of a sentence
imposed by the Court which falls within or is less than the sentencing range for imprisonment,
a fine and supervised release set forth in Section III, 411, above, notwithstanding the manner
in which the Court determines the sentence. In the event of an appeal of the defendant's
sentence by the government, the defendant reserves the right to argue the correctness of the

defendant's sentence.
Case 1:15-cr-00142-EAW-MJR Document 1351 Filed 07/13/18 Page 9 of 10

20. The. defendant understands that by agreeing not to collaterally attack the
sentence, the defendant is waiving the right to challenge the sentence in the event that in the
future the defendant becomes aware of previously unknown facts or a change in the law which

the defendant believes would justify a decrease in the defendant’s sentence.

21. The government waives its right to appeal any component of a sentence
imposed by the Court which falls within or is greater than the sentencing range for
imprisonment, a fine and supervised release set forth in Section II, 411, | above,
notwithstanding the manner in which the Court determines the sentence. However, in the
event of an appeal from the defendant's sentence by the defendant, the government reserves

its right to argue the correctness of the defendant's sentence.

Vil. TOTAL AGREEMENT AND AFFIRMATIONS
22. This plea agreement represents the total agreement between the defendant,
GLEN STACHARCZYCK a/k/a Turbo, and the government. There are no promises made
by anyone other than those contained in this agreement. This agreement supersedes any other
prior agreements, written or oral, entered into between the government and the defendant.
JAMES P. KENNEDY, JR.

United States Attorney
Western District of New York

‘Assistant United States Attorney

Dated: July _/3 , 2018
Case 1:15-cr-00142-EAW-MJR Document 1351 Filed 07/13/18 Page 10 of 10

I have read this agreement, which consists of 10 pages. I have had a full opportunity
to discuss this agreement with my attorney, Mehmet K. Okay, Esq. I agree that it represents
the total agreement reached between myself and the government. No promises or
representations have been made to me other than what is contained in this agreement. I
understand all of the consequences of my plea of guilty. I fully agree with the contents of this

agreement. I am signing this agreement voluntarily and of my own free will.

ff 4 a“ ’ Oto . a
Lb Gosia. ANS

 

 

 

GEN STACHARCZYCK MEHMET K. OKA¥-ESQ.
Defendant Attorney for the Defendant
Dated: July _/ 3, 2018 Dated: July \7Y, 2018

10
